Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 1 of 14




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION


      PNC BANK, NATIONAL ASSOCIATION,                      CASE NO: 9:21-cv-80758-DMM
      SUCCESSOR BY MERGER TO NATIONAL
      CITY BANK, SUCCESSOR BY MERGER
      TO FIDELITY FEDERAL BANK & TRUST,

                     Plaintiff,
      vs.

      LILIA BELKOVA A/K/A LILIA BELKOVA
      RUSSO, individually; LILIA BELKOVA, AS
      SUCCESSOR TRUSTEE OF THE LAND
      TRUST AGREEMENT NO. 072003 DATED
      FEBRUARY 9, 2004; DEER RUN
      PROPERTY OWNERS ASSOCIATION,
      INC.; ENTERPRISE FUNDING SOLUTIONS
      LLC,

                 Defendants.
      ___________________________________/

                   PLAINTIFF’S AMENDED MOTION FOR FINAL SUMMARY
                  JUDGMENT AND INCORPORATED MEMORANDUM OF LAW

             COMES NOW Plaintiff, PNC BANK, NATIONAL ASSOCIATION, SUCCESSOR

     BY MERGER TO NATIONAL CITY BANK, SUCCESSOR BY MERGER TO FIDELITY

     FEDERAL BANK & TRUST (“PNC”), by and through its undersigned counsel, and pursuant

     to Rule 56, Federal Rules of Civil Procedure (“Rule(s)”), and this Court’s November 16, 2021

     Paperless Order (D.E. 69), files this Amended Motion for Final Summary Judgment and

     Incorporated Memorandum of Law (the “Motion for Summary Judgment”), and would show

     unto the Court the following:




     1080780.16
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 2 of 14




     I.      PROCEDURAL HISTORY

             A.     Pleadings.

             1.     On or about April 23, 2021, PNC filed its Verified Complaint for In Rem

     Residential Foreclosure related to subject property (the “Property”) located in Palm Beach

     County, Florida. (D.E. 1).

             2.     On or about June 7, 2021, PNC filed its Verified Second Amended Complaint

     for In Rem Residential Foreclosure (the “Second Amended Complaint”) (D.E. 16), naming the

     following Defendants:

                       a. LILIA BELKOVA A/K/A LILIA BELKOVA RUSSO, individually;

                       b. LILIA BELKOVA, AS SUCCESSOR TRUSTEE OF THE LAND

                             TRUST AGREEMENT NO. 072003 DATED FEBRUARY 9, 2004;

                       c. DEER RUN PROPERTY OWNERS ASSOCIATION, INC.;

                       d. JPG ENTERPRISES, INC.; and

                       e. ENTERPRISE FUNDING SOLUTIONS LLC;

             3.     Counsel for Defendants, LILIA BELKOVA A/K/A LILIA BELKOVA

     RUSSO, individually (“BELKOVA”), and LILIA BELKOVA, AS SUCCESSOR TRUSTEE

     OF THE LAND TRUST AGREEMENT NO. 072003 DATED FEBRUARY 9, 2004 1

     (“TRUSTEE”, and collectively, the “Belkova Defendants”), appeared on their behalf and filed

     a Motion to Dismiss the Second Amended Complaint. (D.E. 42).




     1
      After the Complaint was filed in this case and the Lis Pendens recorded, the Official Records
     reflect that BELKOVA executed a Trustee’s Deed with respect to the Property in favor of
     “YOUR FLORIDA REALTY SERVICES LLC, as Successor Trustee of the Land Trust
     Agreement No. 072003 dated 2/9/04,” which was recorded on July 2, 2021, in the Official
     Records of Palm Beach County, Florida at Book 32652, Page 0413.
     1080780.16
                                                   2
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 3 of 14




               4.     On October 28, 2021, the Court denied the Belkova Defendants’ Motion to

     Dismiss the Second Amended Complaint. (D.E. 61). To date, the Belkova Defendants have

     not filed a responsive pleading to the Second Amended Complaint, and their time for doing so

     has passed.2

               5.     On November 16, 2021, PNC filed a Motion for Judicial Default against the

     Belkova Defendants, which is pending. (D.E. 70).

               6.     On July 22, 2021, Defendant, DEER RUN PROPERTY OWNERS

     ASSOCIATION, INC. (“Deer Run”), filed an Answer to the Second Amended Complaint, in

     which no affirmative defenses were raised. (D.E. 24).

               7.     By Order of the Court, on August 10, 2021, Defendant, JPG ENTERPRISES,

     INC., was dropped as a party from this action. (D.E. 25, 29).

               8.     On August 10, 2021, a Clerk’s Default was entered against Defendant,

     ENTERPRISE FUNDING SOLUTIONS LLC (“Enterprise Funding”), due to its failure to

     timely file a responsive pleading after being served with process in this case. (D.E. 27, 28).

               9.     On August 25, 2021, PNC filed a Motion for Default Judgment against

     Enterprise Funding, which remains pending before the Court. (D.E. 34). To date, Enterprise

     Funding has not filed a response to the Motion for Default Judgment.

               B.     Original Loan Documents.

               10.    PNC’s undersigned counsel was in possession of the original Note, which is

     endorsed “in blank,” on PNC’s behalf at the time of the filing of this foreclosure action, and

     PNC’s undersigned counsel is still in possession of the original Note on PNC’s behalf.




     2
         See Fed. R. Civ. P. 12(a)(4)(A).
     1080780.16
                                                    3
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 4 of 14




     II.     SUMMARY JUDGMENT STANDARD OF REVIEW

             Rule 56 of the Federal Rules of Civil Procedure provides that “[a] party may move for

     summary judgment, identifying each claim or defense--or the part of each claim or defense--

     on which summary judgment is sought. The court shall grant summary judgment if the movant

     shows that there is no genuine dispute as to any material fact and the movant is entitled to

     judgment as a matter of law.” Fed. R. Civ. P. 56(c)(2). The moving party bears the burden of

     showing that no genuine issue of material facts exists. Clark v. Coats & Clark, Inc., 929 F.2d

     604, 608 (11th Cir. 1991); Watson v. Adecco Employment Sys., Inc., 252 F. Supp. 2d 1347,

     1352 (M.D. Fla. 2003).

             Although a “party seeking summary judgment always bears the initial responsibility of

     informing the district court of the basis for its motion, and identifying those portions of the

     pleadings, depositions, answers to interrogatories, and admissions on file, together with the

     affidavits, if any, which it believes demonstrate the absence of a genuine issue of material

     fact[,]” the burden shifts to the nonmoving party, who must “go beyond the pleadings and by

     her own affidavits, or by the depositions, answers to interrogatories, and admissions on file,

     designate specific facts showing that there is a genuine issue for trial.” Celotex Corp. v.

     Catrett, 477 U.S. 317, 323-24 (1986) (internal quotations and citations omitted).

             “Thereafter, summary judgment is mandated against the non-moving party who fails

     to make a showing sufficient to establish a genuine issue of fact for trial.” Hunter v. ADP

     Screening and Selection Services, Inc., Case No. 6:15-cv-845-ORL-31TBS, 2016 WL

     4992472, at *2 (M.D. Fla. Sep. 19, 2016) citing Celotex, 477 U.S. at 324-25.

             The nonmoving party must rely on more than conclusory statements or allegations

     unsupported by facts. Evers v. Gen. Motors Corp., 770 F.2d 984, 986 (11th Cir. 1985).



     1080780.16
                                                   4
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 5 of 14




     Although “[e]vidence is viewed in a light most favorable to the nonmoving party,” the court is

     not “constrained to accept all the nonmovant’s factual characterizations and legal arguments.”

     Beal v. Paramount Pictures, Corp., 20 F.3d 454, 458-59 (11th Cir. 1994). “[C]onclusory

     allegations without specific supporting facts have no probative value.” Leigh v. Warner Bros.,

     Inc., 212 F. 3d 1210, 1217 (11th Cir. 2000); “A party’s self-serving affidavit that contains only

     unverified, conclusory allegations does not create a genuine issue of material fact.” Stroud v.

     Bank of America, 886 F. Supp. 2d 1308, 1312 (S.D. Fla. 2012).

     III.      ARGUMENT

               To make a prima facie case, “[f]oreclosure plaintiffs must show: (1) an agreement; (2)

     a default; (3) an acceleration of debt to maturity; and (4) the amount due.” Bank of Am., N.A.

     v. Delgado, 166 So. 3d 857, 859 (Fla. 3d DCA 2015). As shown below, PNC is entitled to the

     entry of final summary judgment in its favor pursuant to Rule 56 because there is no genuine

     dispute as to any material fact, and PNC is entitled to judgment as a matter of law. In support

     of the Motion for Summary Judgment, PNC separately and contemporaneously filed a

     Statement of Material Facts, along with eighteen Exhibits thereto. PNC incorporates by

     reference the Statement of Material Facts and Exhibits attached thereto as though fully set forth

     herein.

               A.     PNC Has Standing to Enforce a Valid Agreement.

               There are a number of ways in which standing can be established. See, e.g., BAC

     Funding Consortium Inc. ISAOA/ATIMA v. Jean-Jacques, 28 So. 3d 936, 939 (Fla. 2d DCA

     2010) (finding a plaintiff may prove standing “through evidence of a valid assignment, proof

     of purchase of the debt, or evidence of an effective transfer”).

               For example, when the plaintiff is not the original payee on the note, the plaintiff may



     1080780.16
                                                      5
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 6 of 14




     rely on a blank endorsement signed by the originating lender or prior holder, to establish

     standing. See McLean v. JP Morgan Chase Bank Nat. Ass’n, 79 So. 3d 170, 173 (Fla. 4th DCA

     2012). When the plaintiff contends its standing to foreclose is derived exclusively from an

     endorsement, “the plaintiff must show that the endorsement occurred prior to the inception of

     the lawsuit.” Id. at 174. This can be demonstrated by attaching a copy of the note with the

     endorsement to the complaint, or through other evidence showing the endorsement was

     executed prior to filing the complaint. See id.

             Critically, when a plaintiff attaches a copy of a note with blank endorsement to a

     complaint, and then later tenders the original note to the court, which matches the copy of the

     note attached to the complaint, the court may reasonably infer that possession of the original

     note was transferred to the plaintiff before the complaint was filed. See Ortiz v. PNC Bank,

     Nat. Ass’n, 188 So. 3d 923, 925 (Fla. 4th DCA 2016) (finding that “if the Bank later files with

     the court the original note in the same condition as the copy attached to the complaint, then we

     agree that the combination of such evidence is sufficient to establish that the Bank had actual

     possession of the note at the time the complaint was filed and, therefore, had standing to bring

     the foreclosure action, absent any testimony or evidence to the contrary”); Clay Cnty. Land

     Trust, 152 So. 3d at 83 (finding a copy of a note endorsed in blank attached to a complaint

     sufficient to establish standing as a matter of law); McLean, 79 So. 3d 170 at 174 (“If the note

     or allonge reflects on its face that the endorsement occurred before the filing of the complaint,

     this is sufficient to establish standing.”); Taylor v. Bayview Loan Servicing, LLC, 74 So. 3d

     1115, 1117 (Fla. 2d DCA 2011) (finding that because the plaintiff attached copies of the note

     and allonge to its complaint, reflecting an endorsement to the plaintiff, and the plaintiff filed

     the original note and the allonge with the court, the plaintiff established its status as holder of



     1080780.16
                                                       6
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 7 of 14




     the note and its right to enforce the note).

             Here, the copy of the Note attached to the original Complaint (as well as the Second

     Amended Complaint) contained the blank endorsement, and a copy of the original Note

     attached hereto (and that will be filed with the Court) contains the same endorsement. See

     Statement of Material Facts, Ex. “3.” It is unquestionable that the blank endorsement to the

     Note was executed prior to the filing of the Complaint; otherwise, it could not have been

     attached to the Complaint. See Clay Cnty. Land Trust, etc. v. JPMorgan Chase Bank, Nat.

     Ass’n, 152 So. 3d 83, 85 (Fla. 1st DCA 2014) (“When appellee filed the foreclosure complaint,

     it attached a copy of the note and an undated allonge to the note containing an endorsement in

     blank. This was sufficient to establish as a matter of law that appellee had standing to bring the

     foreclosure action.” (emphasis added)); see also Green v. JPMorgan Chase Bank, N.A., 109

     So. 3d 1285, 1288 (Fla. 5th DCA 2013); U.S. Bank Nat. Ass’n v. Knight, 90 So. 3d 824, 826

     (Fla. 4th DCA 2012).

             As such, PNC was the owner and holder of the Note and the PNC Mortgage at the time

     this case was filed, and PNC is entitled to seek the in rem foreclosure of the Property as the

     owner and holder of the Note and the PNC Mortgage.

             PNC also established standing in yet another way at the inception of the case.

     Notwithstanding that the evidence showed the endorsement was affixed to the Note before the

     original Complaint was filed, regardless of when the endorsement was affixed to the Note,

     PNC established it had standing to enforce the Note pursuant to its merger with National City

     and Fidelity Federal.

             When national banking corporations merge, so do their property rights and interests;

     no proof of transfer, such as a deed or endorsement, is necessary; the merger itself suffices.



     1080780.16
                                                     7
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 8 of 14




     See 12 U.S.C. 215a(e) (“All rights, franchises, and interests of the individual merging banks

     or banking associations in and to every type of property (real, personal, and mixed) and choses

     in action shall be transferred to and vested in the receiving association by virtue of such merger

     without any deed or other transfer”); see also Wachovia Mortgage, F.S.B. v. Goodwill¸ 199

     So. 3d 346, 348 (Fla. 4th DCA 2016) (“Wachovia also established that in 2009 it merged with

     Wells Fargo Bank, N.A., after filing suit, and that the successor entity became the owner and

     holder of the Note at the time of trial by operation of law.”); Wells Fargo Bank, N.A. v. Tom

     Roberts Const. Co. Inc., 629 F. App’x 877, 880 (11th Cir. 2015) (“[T]he note and guaranty,

     which state that they are “freely assignable,” coupled with the Certificate of Merger and letter

     from the Comptroller of the Currency establish, without dispute, that Wells Fargo acquired the

     loan by merger and inherited the rights of Wachovia to recover the outstanding indebtedness

     under the note and guaranty.” (citing 12 U.S.C. § 215a(e))). If one national bank merges into

     another national bank, the succeeding national bank is deemed to be the same corporation as

     its predecessor. See id.

             Here, after execution of the Note and the PNC Mortgage, National City Bank acquired

     the Note and the PNC Mortgage through its merger with Fidelity Federal. See Statement of

     Material Facts, Ex. “1,” ¶¶ 3, 17, 18, 19. Thereafter, PNC acquired the Note and the PNC

     Mortgage through its merger with National City Bank. See Statement of Material Facts, Ex.

     “1,” ¶¶ 3, 17, 18, 19. As such, PNC is deemed to be the same entity as Fidelity Federal since

     the origination of the Loan. Accordingly, separate and apart from PNC’s evidence of its

     possession of the Note endorsed in blank at the inception of the case, PNC was independently

     authorized to bring this action to seek the in rem foreclosure of the Property as the “payee”




     1080780.16
                                                     8
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 9 of 14




     under the Note due to the merger of Fidelity Federal into National City Bank, and the

     subsequent merger of National City Bank into PNC.

             In sum, PNC’s standing at the inception of the case is unassailable.3

             B.     BELKOVA Defaulted Under the PNC Mortgage, as Modified by the
                    Valuation Order and the Confirmation Order.

             In BELKOVA’s 2013 Chapter 12 Bankruptcy, the Bankruptcy Court entered the

     Valuation Order. In the Valuation Order, the Bankruptcy Court determined that PNC’s claim

     secured by the Property is valued at $325,000. BELKOVA subsequently filed her Sixth

     Amended Plan, in which she stated, among other things, that she would maintain property

     hazard insurance and pay post-petition property taxes directly to Palm Beach County.

     Thereafter, BELKOVA’s Sixth Amended Plan was confirmed. After entry of the Confirmation

     Order, however, BELKOVA failed to pay property taxes and insurance, which were advanced

     on her behalf. See Statement of Material Facts, Ex. “1,” ¶ 24. Consequently, BELKOVA,

     individually and as TRUSTEE, defaulted under the PNC Mortgage, as modified by the

     Valuation Order and the Confirmation Order, by failing to pay the amounts due and owing for

     the property taxes assessed against the Property, as well as for failing to pay the insurance for

     the Property. See PNC Bank, N.A. v. Clark, 211 So. 3d 265, 266 (Fla. 3d DCA 2017) (finding




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       In addition, it has been judicially determined based on BELKOVA’s representations in her
     2013 Chapter 12 Bankruptcy that PNC is the secured creditor under the PNC Mortgage against
     the Property, including, but not limited to, in the Valuation Order and the Confirmation Order.
     See Statement of Material Facts, Exs. “10,” “12.” Further, in BELKOVA’s subsequent 2020
     Chapter 12 Bankruptcy, the Bankruptcy Court determined that PNC is entitled to pursue the in
     rem relief it seeks in this foreclosure action based upon the Order granting PNC prospective
     relief from the automatic stay. (D.E. 16 ¶¶ 66-71).
     1080780.16
                                                    9
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 10 of 14




      the borrower’s failure to pay property taxes advanced by the bank established a breach under

      the loan entitling the bank to a foreclosure judgment).

              Moreover, the Valuation Order and the Confirmation Order required that BELKOVA

      continue to make monthly payments following the completion of her confirmed Chapter 12

      Plan. See Statement of Material Facts, Exs. “10,” “12.” BELKOVA completed her Chapter

      12 Plan, and she received her Chapter 12 Discharge on June 3, 2020. See Statement of Material

      Facts, Ex. “13.” However, BELKOVA failed to make the monthly payment due for June 1,

      2020, and all subsequent payments.        See Statement of Material Facts, Ex. “1,” ¶ 22.

      Consequently, BELKOVA, individually and as TRUSTEE, defaulted under the covenants,

      terms, and agreements of the PNC Mortgage, the Valuation Order, and the Confirmation Order,

      in that the payment due June 1, 2020, and all payments due subsequent thereto, have not been

      made. See Statement of Material Facts, Ex. “1,” ¶ 22.

              On March 16, 2021, the Notice of Default was mailed to BELKOVA informing of the

      defaults under the PNC Mortgage, as modified by the Valuation Order and the Confirmation

      Order, and action necessary to cure the defaults. See Statement of Material Facts, Ex. “1,” ¶

      23. To date, those defaults have not been cured. See Statement of Material Facts, Ex. “1,” ¶

      23.

              C.     PNC Has Been Damaged by BELKOVA’s Defaults.

              As a result of BELKOVA’s defaults under the PNC Mortgage, as modified by the

      Valuation Order and the Confirmation Order, PNC has been damaged due the BELKOVA’s

      failure to make the June 1, 2020 payment, and all subsequent payments. As the Affidavit

      attached to the Statement of Material Facts reflects, the following amounts are due and owing

      under the PNC Mortgage, as modified by the Valuation Order and the Confirmation Order: (i)



      1080780.16
                                                    10
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 11 of 14




      unpaid principal in the amount of $299,934.42; (ii) accrued interest in the amount of

      $23,070.40 (the per diem interest is $41.09); (iii) post-confirmation escrow advances for taxes

      and insurance in the amount of $16,727.25; and (iv) post-confirmation property inspections in

      the amount of $750. See Statement of Material Facts, Ex. “1,” ¶ 24.

              In addition, PNC has incurred substantial attorney’s fees and costs associated with

      protecting its interest in the Property and rights under the PNC Mortgage in this foreclosure

      action and a number of bankruptcy proceedings in which PNC’s interest in the Property by

      virtue of the PNC Mortgage was at issue, which PNC is entitled to recover pursuant to

      Paragraphs 9, 19, 22, and 24 of the PNC Mortgage. See Statement of Material Facts, Ex. “1,”

      ¶¶ 25, 26, Ex. “4.” See U.S. Bank Tr., N.A. as Tr. for LSF9 Master Participation Tr. v. Leigh,

      293 So. 3d 515, 516 (Fla. 5th DCA 2019) (finding attorney’s fees were recoverable under

      paragraph 19 of the mortgage from prior litigation even though the plaintiff was not the

      prevailing party in the prior litigation); Webber for Keitel v. D’Agostino, 251 So. 3d 188, 192

      (Fla. 4th DCA 2018) (upholding a fee awarded in state court for time spent litigating in federal

      bankruptcy court); Len-Hal Realty, Inc. v. Wintter & Cummings, 689 So. 2d 1191, 1191 (Fla.

      4th DCA 1997) (affirming an order awarding a former law firm attorney’s fees through a lien

      on the property which was the subject of the foreclosure, which included work performed by

      the discharged law firm in getting a bankruptcy stay lifted).

              Paragraph 9 of the PNC Mortgage provides that PNC may do and pay for whatever is

      reasonable or appropriate to protect its interest in the Property and rights under the PNC

      Mortgage, including but not limited to paying reasonable attorney’s fees in bankruptcy

      proceedings. See Statement of Material Facts, Ex. “4” at 8-9. Any amounts disbursed in

      accordance with Paragraph 9 of the PNC Mortgage, including attorney’s fees, automatically



      1080780.16
                                                    11
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 12 of 14




      become “additional debt” secured by the PNC Mortgage. See Statement of Material Facts, Ex.

      “4” at 9. Paragraph 22 entitles PNC to “all expenses incurred in pursuing remedies provided”

      for in Paragraph 22, including attorneys’ fees, and Paragraph 24 expressly defines attorney’s

      fees to also include “any attorneys’ fees incurred in a bankruptcy proceeding.” See Statement

      of Material Facts, Ex. “4” at 14. Paragraph 19 of the PNC Mortgage provides that PNC is

      entitled to all sums due and all expenses incurred in enforcing the PNC Mortgage, which

      includes reasonable attorney’s fees as provided in Paragraphs 9, 22 and 24 of the PNC

      Mortgage. See Statement of Material Facts, Ex. “4” at 12-13. The total amount of fees incurred

      by PNC in protecting its interest in the Property and rights under the PNC Mortgage post-

      Confirmation through October 2021 is $191,229.60.          See Statement of Material Facts, Ex.

      “18.”

      IV.     CONCLUSION

              For all of the foregoing reasons, the Court should award final summary judgment in

      favor of PNC pursuant to Rule 56 because there is no genuine dispute as to any material fact,

      and PNC is entitled to judgment as a matter of law.

               WHEREFORE, Plaintiff, PNC BANK, NATIONAL ASSOCIATION, SUCCESSOR

      BY MERGER TO NATIONAL CITY BANK, SUCCESSOR BY MERGER TO FIDELITY

      FEDERAL BANK & TRUST, requests that the Court: (i) declare the interests or claims of all

      Defendants to be inferior to the PNC Mortgage; (ii) ascertain the amount due to PNC for

      principal and interest on the PNC Mortgage, as modified by the Valuation Order and the

      Confirmation Order, and for insurance, abstracting, taxes, expenses, charges, and costs,

      including but not limited to attorney’s fees, plus interest thereon; (iii) that if the sums due PNC

      under the PNC Mortgage, the Valuation Order and the Confirmation Order are not paid

      immediately, the Court enter a judgment of mortgage foreclosure as to the Property in favor of

      1080780.16
                                                      12
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 13 of 14




      PNC and against all Defendants, and the Clerk of the Court sell the Property securing the

      indebtedness to satisfy the PNC Mortgage in accordance with the provisions of Florida Statutes

      §45.031; (iv) retain jurisdiction of this action to enter any and all further orders and judgments

      as may be necessary and proper, including but not limited to awarding attorney’s fees and

      costs, entertaining re-foreclosure proceedings, if any, and the issuance of a writ of possession

      for the Property; and (v) grant such further relief as this Court deems just and proper.

              Respectfully submitted on this 16th day of November, 2021

                                                  McGLINCHEY STAFFORD

                                                  /s/ William L. Grimsley
                                                  Kimberly Held Israel
                                                  Florida Bar No. 47287
                                                  William L. Grimsley
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                                                  Attorneys for Plaintiff, PNC BANK, N.A.




      1080780.16
                                                     13
Case 9:21-cv-80758-DMM Document 71 Entered on FLSD Docket 11/16/2021 Page 14 of 14




                                    CERTIFICATE OF SERVICE

             I hereby certify that in accordance with this Court’s electronic filing procedures, this
      document has been electronically filed this 16th day of November, 2021. A Notice of
      Electronic Filing will be sent by the Court to all counsel of record who have consented to e-
      mail notification and electronic service. This document is available for viewing and
      downloading from the Court’s ECF system.

      VIA CM/ECF
      Steven R. Braten, Esq.
      SBraten@rosenbaumpllc.com
      Counsel for Defendant, DEER RUN PROPERTY OWNERS ASSOCIATION, INC.

      David Merrill, Esq., dlmerrill@theassociates.com
      Counsel for Defendants, LILIA BELKOVA, INDIVIDUALLY, AND LILIA BELKOVA, AS
      SUCCESSOR TRUSTEE OF THE LAND TRUST AGREEMENT NO. 072003 DATED
      FEBRUARY 9, 2004

      VIA U.S. MAIL
      Enterprise Funding Solutions LLC
      c/o James Ciuffetelli
      11255 Persimmon Blvd.
      West Palm Beach, FL 33411
      Defendant

      Enterprise Funding Solutions LLC
      c/o Steven Kivett
      4600 N. Flagler Dr.
      West Palm Beach, FL 33407
      Defendant

                                                           /s/ William L. Grimsley
                                                           ATTORNEY




      1080780.16
                                                    14
